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                                     UNITED STATES DISTRICT COURT

                                     MIDDLE DISTRICT OF LOUISIANA

MCARTHUR GRIFFIN                                                      CIVIL ACTION NO.

VERSUS                                                                20-92-BAJ-EWD

REC MARINE LOGISTICS, LLC,
ET AL.


                 TELEPHONE STATUS CONFERENCE REPORT AND ORDER

           A telephone conference was held before Magistrate Judge Erin Wilder-Doomes on June

19, 2020, with the following participants, as a follow-up to the May 14, 2020 telephone conference:

           PRESENT:         Daniel Sheppard                    Fred E. Salley
                            John Sheppard                      Counsel for Defendants,
                            Counsel for Plaintiff,             REC Marine Logistics, LLC
                            McArthur Griffin                   GOL, LLC, Gulf Offshore Logistics,
                                                               LLC and Offshore Transport
                            Alan R. Davis                      Services, LLC
                            Counsel for Defendant,
                            QBE Insurance (Europe) Limited

           The Court inquired into the status of the parties’ discussions regarding resolution of the

issues raised with respect to the Court’s subject matter jurisdiction previously discussed during the

parties’ April 16, 2020 and May 14, 2020 conference calls with the Court.1 Counsel for Defendant

QBE Insurance (Europe) Limited (“QBE”) advised that QBE responded to the limited discovery

requests propounded by Plaintiff McArthur Griffin (“Plaintiff”), which were discussed during the

last conference call. Plaintiff’s counsel confirmed that they received QBE’s responses, which state

that there is no insurance coverage dispute between QBE and its insured, Defendant REC Marine

Logistics, LLC (“REC Marine”). Counsel for QBE clarified that the discovery responses were

qualified with several objections. Plaintiff’s counsel stated that they are currently evaluating

whether subject matter jurisdiction exists under the Convention on the Recognition and


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    See R. Doc. 13 and R. Doc. 17.

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Enforcement of Foreign Arbitral Awards (“Convention”), 9 U.S.C. § 201 et seq., if there is no

coverage dispute, because in Plaintiff’s view, the arbitration clause of the policy at issue is

arguably not triggered if there is no dispute. Plaintiff avers that whether the Convention applies

to the particular facts of this case appears to be a matter of first impression, as the authority Plaintiff

has reviewed pertains to actual disputes that triggered arbitration clauses pre-removal.

           QBE stated that the policy at issue is an indemnity policy governed by English law (which

is not directly aligned with the Louisiana Direct Action Statute, La. R.S. § 22:1269) and that, by

virtue of the fact it is an indemnity policy there could not be a coverage dispute until REC Marine

pays a claim. QBE contends that the Convention’s broad grant of jurisdiction over matters relating

to arbitration agreements applies in this case. QBE further stated that it believes admiralty

jurisdiction also exists, but admiralty was not cited as basis for jurisdiction in the Notice of

Removal.

           Since counsel believe the question of subject matter jurisdiction under these facts to be an

issue of first impression, they have engaged in several discussions regarding jurisdiction, and other

practical matters to streamline this case. Plaintiff made an oral motion for leave to file either a

Motion to Remand (preserving any objections from Defendants) or a pleading specifying a basis

for subject matter jurisdiction in two weeks. While the parties cannot confer jurisdiction by

agreement, it will be helpful to understand the parties’ positions regarding subject matter

jurisdiction in this case. With no opposition from Defendants, the Court will grant the Motion.

           The Court advised the parties that, since this matter cannot proceed until the issue of subject

matter jurisdiction is resolved, the Motions to Stay, 2 filed by REC Marine are unnecessary and

will be terminated without prejudice to refiling after the issue of subject matter jurisdiction is

resolved.



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    R. Docs. 18-20.


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           Accordingly,

           IT IS ORDERED that, by no later than July 3, 2020, Plaintiff McArthur Griffin shall

file either a Motion to Remand or a pleading wherein a basis for the Court’s subject matter

jurisdiction is specified.

           IT IS FURTHER ORDERED that the Clerk of Court is directed to TERMINATE

without prejudice the two Motions to Stay Pending Court Decision on Jurisdiction, 3 and Ex Parte

Motion to Withdraw and Replace Motion to Stay,4 all filed by Defendant REC Marine Logistics,

LLC, for the reasons set forth herein.

           Signed in Baton Rouge, Louisiana, on June 19, 2020.


                                              S
                                              ERIN WILDER-DOOMES
                                              UNITED STATES MAGISTRATE JUDGE




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    R. Docs. 18, 20.
4
    R. Doc. 19.


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